93 F.3d 986
    320 U.S.App.D.C. 323
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of America, Appellee,v.Marlene M. PARKS, a/k/a Twiggy, Appellant.
    No. 95-3101.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 7, 1996.
    
      Before:  SILBERMAN, GINSBURG, and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED and ADJUDGED that the district court's sentence be affirmed.  Appellant has not sought to withdraw her consent to the plea agreement, and the district court's sentence was within the range appellant agreed to in the plea agreement.
    
    
      3
      A copy of the court's May 31, 1996 statement shall be attached, pursuant to Fed.R.Crim.P. 32(c)(1), to the Probation Office's presentence report concerning appellant.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    